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                      RIGHTS AND OBLIGATIONS OF CONDOMINIUM UNIT OWNERS


       THE RIGHTS AND OBLIGATIONS OF UNIT OWNERS SET FORTH HEREIN APPLY ONLY TO
 THE OWNERS OF UNITS IN THE CONDOMINIUM AND NOT CLUB MEMBERS.
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          For purposes of this Section, the rights of a Unit Owner or a Club Member shall be exercisable only by the
 Club Association for all Club Units subjected to the Club. Notwithstanding the foregoing, the benefit of the
 easements granted to Unit Owners and Club Members and their Designated Pennitted Users in the Condominium
 Declaration shall inure to the benefit of the Person or Persons who hold title of record to a Club Interest in one or
 more Club Units and their Designated Permitted Users.

 Use of Units

         Subject to certain restrictions set forth in the Condominium Documents, the Club Units and the Suite Units
 may only be used for residential purposes.

 Common Charges: Determination and Assessment

         Common Expenses, which are payable only by Unit Owners and are included in their Common Charges,
are allocated among Unit Owners in the manner set forth in the Schedule C- Condominium Budget set forth in Part
I of the Offering Plan. Common Expenses include, among other things, all costs and expenses in connection with
the repair, maintenance, replacement, restoration and operation of, and any alteration, addition or improvement to,
the Common Elements, and may include amounts for certain other items as the Condominium Board may deem
proper.

         At least annually, the Condominium Board will prepare a budget for Common Expenses and allocate, as
aforesaid, and assess among all Unit Owners, Common Charges to meet Common Expenses.

        The Condominium Board will furnish copies of each budget on which Common Charges are based to all
Unit Owners and advise such Unit Owners of the amount of Common Charges payable by them. Unless otherwise
determined by the Condominium Board, Common Charges will be payable monthly in advance on the first day of
each month.

Common Charges: Collection and Lien for Non-Payment

         The Condominium Board, on behalf of all Unit Owners, will have a lien on each Unit for unpaid Common
Charges, together with interest thereon, assessed against such Unit in proportion to the respective Common Interests
ofthe Units. All such liens, however, to the extent required by Law, will be subordinate to the lien of any Permitted
Mortgage of record and to liens for Real Estate Taxes on the particular Unit. Such liens may be foreclosed by a suit
brought in the name of the Condominium Board (acting on behalf of all Unit Owners) in like manner as the
foreclosure of a mortgage on real property or an action may be brought by the Condominium Board to recover
unpaid Common Charges without foreclosing such lien.

Repairs to and Maintenance of Units and Common Elements

          Generally, all painting, decorating, maintenance, repairs and replacements, whether structural or non-
structural, ordinary or extraordinary, (a) in or to any Unit will be made by the owner of such Unit at such Unit
Owner's sole cost and expense, and (b) in or to the Common Elements will be made by the Condominium Board
and the cost and expense thereof will be charged to all Unit Owners as a Common Expense.




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 Alterations and Improvements of Units and Common Elements

          Each Unit Owner may make any structural alteration, addition, improvement or repair in or to its Unit
 without the prior written approval of the Condominium Board. Except as otherwise permitted in the Condominium
 By-Laws, no Unit Owner may make any alteration, addition, improvement or repair in or to the Common Elements
 without the prior written approval of the Condominium Board.

        Generally, all alterations or improvements in or to the Common Elements will be made by the
 Condominium Board and the cost and expense thereof will be charged to all Unit Owners as a Common Expense.

 Insurance

          The Condominium Board is required to obtain and maintain the forms of insurance described in the Section
 of the Offering Plan entitled "Rights and Obligations ofthe Condominium Board." The Condominium Board is not
 required to obtain or maintain any insurance with respect to any property contained in a Unit.

 Rights of Access

          The Condominium Board and any Managing Agent, superintendent and other Persons authorized by the
Condominium Board, will have a right of access to any Unit for the purposes of performing installations, alterations
or repairs to the mechanical or electrical services or other Common Elements in the Unit or elsewhere in the
Building, to remove violations, cure defaults by a Unit Owner, correct any condition originating in any Unit and
threatening another Unit or any Common Element, and for any other purposes provided in the Offering Plan,
Condominium Documents or as may be required by Law, provided that requests for entry (except in emergency
situations) are made in advance and that any such entry (except in emergency situations) is at a time reasonably
convenient to the Unit Owner and the Permitted Users of any Unit. In case of an emergency, such right of entry shall
be immediate, whether the Unit Owner is present at the time or not. Provided reasonable care is exercised to
safeguard the Unit Owner's property, any entry described herein shall not render the Condominium Board or its
authorized agents liable for damage incurred in connection with the exercise of such right of entry.

Compliance with Terms of Condominium Documents

         Each Unit Owner must strictly comply with the provisions of the Condominium Documents. Pursuant to
Section 3390) of the Condominium Act, failure to comply is grounds for an action for damages or injunctive relief,
or both, but such fonns of relief shall not be exclusive of other remedies provided by Law. The Condominium By-
Laws, have been recorded with the Condominium Declaration in the Register's Office.




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                       RIGHTS AND OBLIGATIONS OF THE CONDOMINIUM BOARD


 Condominium Board
                                                                                                                                       ..
       The affairs of the Condominium shall be governed by the Condominium Board. The members of the
Condominium Board shall be designated by the Unit Owners in accordance with the Condominium Documents.

          The Condominium Board shall have the powers and duties necessary for or incidental to the administration
of the affairs of the Condominium. All determinations required to be made by the Condominium Board shall be by
the votes cast at any meeting by a majority of members ofthe Condominium Board.

       The principal officers of the Condominium shall be a President, Vice President, Secretary/Treasurer, all of
whom shall be elected by the Condominium Board. The Condominium Board may appoint additional officers.

Composition of the Condominium Board

        The members of the seven (7) person Condominium Board will be designated as follows: four (4) by the
                                                                                                                                  ..
Hotel Unit Owner, one (1) by the Retail Unit Owner, one (I) by the Suite Board and one (I) by the Club Board.

         At any time that both the Hotel Unit and the Retail Unit are owned by the same Person, for administrative
convenience, at the direction of such Person owning both such Units (until the election of such Person to the
contrary}, notwithstanding any other seven (7) person Condominium Board, the Condominium Board shall be
comprised of only five (5) members as follows: three (3) members representing the Hotel Unit and the Retail Unit,
one (I) member representing the Suite Board and one (1) member representing the Club Board.

Repair or Reconstruction after Fire or Other Casualty

        In the event that the Building or any part thereof is damaged or destroyed by fire or other casualty, the
Condominium Board will, except as set forth below, arrange for the prompt repair and restoration thereof(including
each Unit, but excluding fixtures, furniture, furnishings or other personal property not constituting a part of such
Unit).

          If the Building is damaged or destroyed by fire or other casualty and the insurance proceeds are insufficient
to cover, or exceed, the cost of repairs and restoration, the deficit or surplus, as the case may be, will be shared
entirely by all Unit Owners in proportion to their respective Common Interests.

          If 75% or more of the Building is destroyed or substantially damaged by fire or other casualty and if 75%
or more in Common Interest of all Unit Owners do not promptly resolve to proceed with the repair or restoration
thereof, the Building will not be repaired and the Property shall be subject to an action for partition instituted by any
Unit Owner or lienor, as if owned in common, in which case the net proceeds of sale, together with the net proceeds
of insurance policies, shall be divided among all Unit Owners in proportion to their respective Common Interests.

         The proceeds of all policies of physical damage insurance maintained by the Condominium Board shall be
payable to the Condominium Board in the event of a loss amounting to $1 0,000,000 or less. In the event that such
proceeds are in excess of $1 0,000,000, such proceeds shall be payable to the Insurance Trustee. The Insurance
Trustee shall hold all such proceeds in accordance with Section 254-(4) ofthe New York Real Property Law.

Insurance

          The Condominium Board is required to obtain and maintain, to the extent obtainable and to the extent
determined by the Condominium Board to be appropriate, the following insurance: (a) special multi-peril insurance                .·
policies including fire with extended "all risk" coverage, replacement cost coverage and agreed valuation, vandalism
and malicious mischief endorsements, insuring the entire Building (including each Unit, but excluding appliances,           •      ..
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fixtures, improvements, or any furniture, furnishings, decorations, belongings or other personal property supplied or
installed by Unit Owners or their Designated Permitted Users, together with all Facilities contained therein and
covering the interests of the Condominium, and all Unit Owners and Permitted Mortgagees, as their respective

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 interests may appear, in an amount equal to the full replacement value ofthe Building (exclusive of foundation and
 footings); (b) rent insurance in an amount equal to Common Charges for one year; (c) worker's compensation and
 New York State disability benefits insurance; (d) boiler and machinery insurance; (e) plate glass insurance to the
 extent, if any, determined by the Condominium Board; (f) water damage insurance to the extent, if any, determined
 by the Condominium Board; (g) elevator liability and collision insurance; (h) fidelity insurance covering the
 Condominium Board and all officers, directors and employees of the Condominium; (i) directors and officers
 liability coverage; and (j) such other insurance as the Condominium Board may determine.

           The Condominium Board shall also be required to obtain and maintain, to the extent obtainable,
 comprehensive general liability insurance, covering all claims for personal injury, death or property damage
 occurring upon, in or about the Property, in such limits as the Condominium Board may from time to time
 determine, covering (I) the Condominium Board, the Managing Agent, each Condominium Board member and each
 officer and employee of the Condominium, and (2) each Unit Owner, except that such policy will not cover liability
 of a Unit Owner arising from occurrences within such Unit Owner's Unit or within the Limited Common Elements,
 if any, exclusive to the Unit.

 Liability of the Condominium Board

          To the extent permitted by Law, the Condominium Board shall have no liability to Unit Owners except that
a Condominium Board member shall be liable for such member's own bad faith or willful misconduct. All Unit
Owners shall severally, to the extent of their respective interests in their Units and their appurtenant Common
Interests, indemnify each Condominium Board member against any liability or claim except those arising out of
such member's own bad faith or willful misconduct.

Amendments to Condominium Documents

         Generally, any provision of the Condominium Declaration affecting the Common Elements or all Unit
Owners may be amended, modified, added to or deleted by affirmative vote of at least 66 2/3% in Common Interest
of all Unit Owners; provided, however, that the Common Interest appurtenant to each Unit may not be altered
without the written consent of all Unit Owners directly affected thereby.

         No amendment, modification, addition or deletion of the Condominium Declaration (other than those
required by Law) shall be effective (a) against any Unit Owner or any Unit unless the Unit Owner has given its
written consent thereto, or (b) against the holder of a Permitted Mortgage (as such term is defined in the
Condominium Declaration) covering any Unit unless such holder has given its prior written consent thereto.

Termination of Condominium

          The Condominium shall continue and the Property shall not be subject to an action for partition (unless
terminated by casualty loss, condemnation or eminent domain as provided in the By-Laws) until such time as the
Property shall be withdrawn from the provisions of the Condominium Act as a result of the vote to do so of at least
80% in Common Interest of all Unit Owners but not 80% in number. In the event of withdrawal, the Property shall
be subject to an action for partition by any Unit Owner or any lienor as if owned in common, in which event the net
proceeds of the sale shall be divided among all Unit Owners in proportion to their respective Common Interests after
first applying the share of the net proceeds of such sale otherwise payable to any Unit Owner to the payment of any
liens on its Unit, other than a mortgage which is not a Permitted Mortgage in the order of priority of such liens.




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 Mechanics' Liens

          Under the provisions of the Condominium Act, no lien of any nature may arise or be created against the
 Common Elements except with the unanimous consent of all Unit Owners affected thereby. Liens may arise or be
 created against only the several Units and their respective Common Interests. Labor performed on, or materials
 supplied to, a Unit may not be the basis for a mechanic's lien against the Unit of a Unit Owner not expressly
 consenting to or requesting such work, except in the case of emergency repairs. No labor performed on, or materials             .'
 furnished to, the Common Elements shall be the basis for a lien thereon but all Common Charges received by the
 Condominium Board shall constitute trust funds for the purpose of paying the cost of labor performed or materials
 furnished at the request or with the consent of the Condominium Board or the Managing Agent for the Common
 Elements.

 Easements

           In order to facilitate the operation and maintenance of the Building and the sale or leasing of Units therein,
 each of the Units will be subject to certain easements including easements in favor ofDeclarants, other Unit Owners
 and the Condominium Board. These easements, include an easement of support and necessity in favor of all other
 Units and the Common Elements, and an easement in favor of each Unit Owner to use, operate, maintain, repair,
 alter, rebuild, restore and replace, provided that such easements shall be exercised in such a manner as will not
 unreasonably interfere with the use of the Units for their permitted purposes. Subject to the terms of the
 Condominium Documents, Declarants shall have an easement to erect, maintain, repair and replace any sign
 permitted by Law on the Property for the purposes of advertising the sale of any Unit, the leasing of space in any
 Unit and the operation of any business of a tenant or occupant of any Unit.

        See the Section entitled "Special Risk Factors" for a discussion of other easements in favor of Hotel Unit
Owner, Sponsor and Suite Sponsor.

The Condominium Declaration and Condominium By-Laws

         Copies of the Condominium Declaration and the Condominium By-Laws are set forth in Part II of the
Offering Plan.




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                                                  MANAGEMENT


 Management of the Club

          The Club Manager will be retained by the Club Association pursuant to a management agreement ("Club
 Management Agreement"). The Club Manager will be responsible for the maintenance and operation of the Club
 (including the Club Reservation System).

 Term and Cancellation Rights

         The Club Management Agreement will have an initial term of five (5) years commencing on the date ofthe
First Closing of a Club Interest and automatically renews itself for successive three (3) year terms. The Club
Members may tenninate the Club Management Agreement and thereby change the Club Manager upon an uncured
default by the Club Manager. The Club Manager may terminate the Club Management Agreement upon an uncured
default by the Club Association, an event of casualty or condemnation, or upon loss of the Club Licensing
Arrangement regarding the St. Regis brand. The Club Manager may assign all or part of the Club Management
Agreement to an affiliate or other company under common management or control with Club Manager without the
consent of the Club Association. The Club Management Agreement provides for an annual management fee of
seven percent (7%) of all money collected by Club Manager pursuant to the estimated Club Budget, including
annual Club Charges and special Club Charges but excluding Real Estate Taxes. The management fee shall be paid
to Club Manager on a monthly basis with adjustments made in the next monthly payment. Payment of the
management fee is in addition to any other reimbursable expenses to be paid to the Club Manager by the Club
Association.

Duties and Services of the Club Manager

          The services to be provided by the Club Manager include contracting for, hiring, paying and supervising
maintenance, housekeeping and guest service personnel; arranging for the maintenance and repair of the Club;
preparation of a recommended annual Club Budget for consideration of the Club Board; endeavoring to assure
compliance by the Club Association and all of the Club Members and guests with all Laws; purchasing equipment
and supplies necessary to properly maintain and operate the Club; ensuring that all insurance required by the Club
Documents is obtained and kept in full force and effect; maintaining the Club Association 's financial record books,
accounts and other records; collecting all Club Charges; providing all required annual financial report to Club
Members; enforcing by legal means the provisions of the Club Documents; maintaining relations with any exchange
network affiliated with the Club; and employing such other professionals as may be reasonably required to carry out
its duties under the Management Agreement.

Reimbursement

         The Club Association is obligated to pay or reimburse the Club Manager for the following: costs for
employees assigned to the Club Association; accounting, data and financial services; clerical or secretarial services
necessary to prepare, print and distribute information to the Club Members; postage, printing costs and duplicating
costs; notices, letters, newsletters, etc., approved by the Club Board to be mailed to Club Members; all costs
expended by the Club Manager for materials, supplies and services, in addition to the employees that the Club
Manager may secure for the performance of the maintenance, repair and operations, and expenses; and legal fees
incurred on behalf of the Club Association.

Indemnity

        The Club Association will indemnity the Club Manager for any liability for damages, costs and expenses
ansmg from injury to any person or property in and about or in connection with the Club from any cause
whatsoever, unless such loss or injury was solely caused by Club Manager's gross negligence or willful misconduct.

        Club Manager shall not be liable to the Club Association or the Club Members for any loss or damage not
caused by the gross negligence or willful misconduct of Club Manager.


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                    A copy of the Club Management Agreement is set forth in Part II ofthe Offering Plan.

        Management of the Condominium

                As more fully set forth in the Section of the Offering Plan entitled "Schedule C- Condominium Budget",
        the Condominium will be managed by Starwood Hotels & Resorts Worldwide, Inc. or an affiliate thereof.




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                                             IDENTITY OF PARTIES


 Sponsor

        St. Regis Residence Club, New York Inc., a Florida corporation, having an office c/o Starwood Vacation
 Ownership, Inc., 8801 Vistana Center Drive, Orlando, Florida 32821 is Sponsor of the Club.

          The following individuals who are actively involved in the planning or consummation of the Offering Plan
 are principals of Sponsor: Raymond L. Gellein, Jr. and Sergio D. Rivera. Mr. Gellein, Jr. and Mr. Rivera have been
 extensively involved in the development, management, and marketing of quality timeshare projects since 1980 and
 1991, respectively. Sponsor is a wholly owned subsidiary of Starwood Vacation Ownership, Inc. which owns,
 manages and markets vacation resorts throughout the United States and abroad, and is highly regarded as a vacation
 ownership industry leader.

         The six (6) most recent offerings in the State of New York in the last five (5) years in which the principals
 have been involved are as follows:

        (a)     Oak Plantation Condominium, 4090 Enchanted Oaks Circle, Kissimmee, Florida, filed with New
York on August 7, 1997.

              (b)   Vistana Cascades Condominium, 13800 State Road 535, Florida, filed in New York on December
23, 1997.

        (c)     Broadway Plantation Horizontal Property Regime d/b/a Embassy Vacation Resort at Myrtle
Beach, 3301 Robert M. Grissom Parkway, Myrtle Beach, South Carolina, tiled in New York on August 27, 1998.

          (d)    Vistana Resort at World Golf Village Condominium, 50 S. Vistana Drive, St. Augustine, Florida,
filed in New York on September 19, 1998.

       (e)     Village North Condominium d/b/a PGA®, 50 S. Vistana Drive, St. Augustine, Florida, filed in
New York on December I I, 2000.

       (f)       Bella Florida Condominium, 12401 International Drive, Orlando, Florida, filed in New York on
December 4, 200 I.

Attorneys for Sponsor

         Sponsor has retained the law finn of Starr Associates LLP, having an office at 245 Fifth Avenue, Suite
1102, New York, New York 10016, under the direction of Allan Starr, Esq. (212) 620-2686, to represent it in
connection with the preparation of the Offering Plan. Starr Associates LLP will represent Sponsor in connection
with all matters relating to the sale of Club Interests.

Escrow Agent

         Sponsor has retained Leo Rose III, Esq., having an office at The Chandler Building, 527 Peachtree Street,
N.E., Atlanta, GA 30303-1845 and whose telephone number is (404) 681-3450, to serve as Escrow Agent under the
Offering Plan.

Selling Agent

         SVO Residence Club Sales of New York, Inc., a New York corporation, having an office c/o Starwood
Vacation Ownership, Inc., 8801 Vistana Center Drive, Orlando, Florida 32821 will act as Selling Agent under the
Offering Plan. Selling Agent is affiliated with Sponsor.




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      Club Manager

              Club Manager is St. Regis New York Management, Inc., a Florida corporation, having an office at 880 I
      Vistana Center Drive, Orlando, Florida 32821. Employees of the Club Manager have significant experience m
      managing hotels and other vacation ownership developments. Club Manager is affiliated with Sponsor.

      Club Budget Expert

               Thorp S. Thomas, having an office at 8801 Vistana Center Drive, Orlando, Florida 32821, the chief
     financial officer of Club Manager estimated all amounts of income and expenses in Schedule B- "Club Budget" set
     forth in Part I of the Offering Plan. The Club Budget Expert has rendered a Certification as to the adequacy of the
     Club Budget which may be found in Part II of the Offering Plan.

     Condominium Budget Expert
             Pen mark Realty Corp., having an address at 5 East 86th Street, New York, New York I 0028, estimated all
     amounts of income and expenses in Schedule C - "Condominium Budget" set forth in Part I of the Offering Plan.
     The Condominium Budget Expert has rendered a Certification as to the adequacy of the Condominium Budget
     which may be found in Part II of the Offering Plan.

     Real Estate Tax Appraiser
               Jerome Haims Realty, Inc., having an address at 369 Lexington Avenue, New York, New York 10017, has
     been engaged as a real estate appraiser under the Offering Plan. The firm has prepared a forecast of the assessed
     valuation of the Units following reconstruction and condominium conversion of the Property that was used in
     preparing the provisions of Schedule A regarding projected real estate taxes. The forecast was prepared by Sheldon
     Gottlieb, MAl, the Senior Vice President and Chief Appraiser of the firm, who has served as President of the
     Greater New York Chapter of the Appraisal Institute and has taught courses in real estate appraisal for the Appraisal
     Institute and the New York University School of Continuing Education, among others. Jerome Haims Realty, Inc.
     has served as adviser to numerous investors and developers, dozens of financial institutions and governmental
     agencies on national, state and local levels. Their experience includes residential, mixed-use, hotel and other
     properties. The real estate appraiser has no financial interest in the Property, in Sponsor, in the Managing Agent, or
     in any other party interested in this transaction, except for its fees for services rendered in connection with the same.

     Construction Professionals
               Brennan Beer Gorman Architects, LLP, having an office at 515 Madison Avenue, New York, New York
     I 0022 is the architect of record with respect to the renovation of those portions of the Building which will constitute
     the Club Units and the Suite Units and prepared the Description of Property and Building Condition set forth in Part
     II of the Offering Plan.

              Flack & Kurtz Inc., having an office at 475 Fifth Avenue, New York, New York 10017, is the mechanical
     and electrical engineer for the Building and prepared the plumbing, mechanical and electrical report for the Building
     included in the Description of Property and Building Condition and the estimates of utilities consumption used in
     the preparation of Schedule B, "Projected Budget for First Year ofCondominium Operation."

            DeSimone Consulting Engineers, PLLC, having an office at 18 West 18th Street, I Oth Floor, New York,
     New York I 00 II, is the structural engineer for the renovation work within the Club Units and the Suite Units.
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     Title Company

                Sponsor has reserved the right to use any reputable title company or abstract company licensed to do
     business in the State of New York to issue fee title insurance and mortgage title insurance to Purchasers of Club
     Interests.




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 Fee Owner

          SLT Palm Desert, L.L.C.; SLT Realty Limited Partnership; Prudential HE! Joint Venture; and SLT St.
 Louis, L.L.C., collectively, own fee title to the Property.

 Related Parties

           Sponsor and its principals have an affiliation with Selling Agent, the Management Company, Club
 Manager, Club Budget Expert and Fee Owner. They have no affiliation with the construction professionals, the
 Attorneys, Escrow Agent, Title Company, Condominium Budget Expert, Real Estate Tax Appraiser or any Person
 who will provide services to the Condominium or the Club Association subsequent to the First Closing of a Club
 Interest, except as otherwise may be set forth in the Offering Plan.

 Status of Proceedings

         There are no prior felony convictions or any prior convictions, injunctions and judgments that may be
material to this offering Plan or an offering of securities generally, that occurred within fifteen ( 15) years prior to the
submission of the Offering Plan to the Department of Law against Sponsor, Selling Agent, or Club Manager or
principals of such entities.

Designation of Agent for Service of Process

        The Secretary of State of the State of New York has been designated to receive service of process for
Sponsor and its principals and Selling Agent and its principals.




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                                              DOCUMENTS ON FILE


          Pursuant to the provisions of Section 352-e of the New York General Business Law, copies ofthe Offering
 Plan and all exhibits or documents referred to herein shall be available for inspection by prospective Purchasers, and
 by any Person who shall have purchased a Club Interest offered by the Offering Plan or shall have participated in the
 offering of such Club Interest, at Sponsor's office and shall remain available for such inspection for a period of six
 years.

          A set of Floor Plans showing the lay out, locations and approximate dimensions of each Unit and its unit
 number designation and tax lot number, certified by the appropriate governmental authority of The City of New
 York as conforming to the official tax lot number for each such Unit, will be filed in the Register's Office following
 the recording of the Condominium Declaration, and an additional set will be furnished to the Condominium Board.

        The Condominium Documents and the Club Documents, as required, will be recorded in advance of or
concurrently with the First Closing of a Club Interest in a Club Unit and appropriate amendments thereto will be
recorded in advance of or concurrently with the First Closing of a Club Interest in a Club Unit in subsequent phases.
The recording of all deeds conveying individual Club Interests will also be recorded in the Register's Office.




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         The Offering Plan does not knowingly omit any material fact or knowingly contain any untrue statement of
any material fact. Sponsor believes that the Offering Plan contains a fair summary of the material provisions of the
documents referred to in the Offering Plan, including those documents contained in Part II of the Offering Plan.
Statements made in Part I of the Offering Plan as to the provisions of documents set forth in Part II of the Offering
Plan or any other document referred to herein, copies of which are on file with Sponsor, are necessarily not
complete. Each such statement is qualified in all respects by the contents of such documents and, in the case of any
such document executed by or with the written consent of a Purchaser pursuant to the Offering Plan, any rider or
separate agreement changing or adding provisions to such document.

         No party other than the respective Purchasers shall have any right or benefit herein or herefrom, including
without limitation, the right to insist upon or enforce against Sponsor the performance of all or any of the Sponsor's
obligations hereunder and no such third party shall be deemed to have received any benefit as a result of any of the
provisions of the Offering Plan.

         Sponsor reserves the right, from time to time prior to the First Closing of a Club Interest, without obtaining
the consent of Purchasers or others, to substantially revise the terms and conditions upon which the Club Interests
are to be sold, including changes affecting the rights, obligations and liabilities of Sponsor, the Purchasers and/or
prospective Purchasers under the Offering Plan. However, Sponsor may not unilaterally cancel a Purchase
Agreement which is in effect, except as therein provided, as in the case of an uncured default, nor unilaterally
change the purchase price or payment terms contained in such Purchase Agreement. All substantive or material
revisions will be contained in a duly filed amendment to the Offering Plan. If there is a substantial amendment to
the Offering Plan that materially and adversely affects Purchasers, except as otherwise provided herein, Purchasers
will have a right of rescission for a period of fifteen ( 15) days from the Presentation Date of such amendment to
them. Sponsor shall promptly return any Deposit to Purchasers who rescind, except that Sponsor shall retain the
Deposit (and any interest thereon) of any Purchaser who is in default under the Purchase Agreement beyond any
applicable grace period.

         In accordance with the provisions of the laws of the State of New York, neither Sponsor nor any selling
agent engaged by Sponsor will discriminate against any person in the sale of Club Interests offered by the Offering
Plan or in the leasing of any such Units because of such person's sex, sexual orientation, race, creed, color, national
origin, marital status, age, disability or any other ground proscribed by Law.

         Unless the context otherwise requires, words used in the singular in Part I of the Offering Plan include the
plural and vice versa, and a reference herein to any one gender, masculine, feminine or neuter, includes the other
two.

          No person has been authorized to make any statement or representation or furnish any information not
expressly contained herein. Any information, data, or representations not contained herein or in the documents and
exhibits referred to herein must not be relied upon. The Offering Plan may not be changed or modified orally.

         The Property and the Building has not been the subject of any prior public offering.

         Except as set forth in the Offering Plan, there have been no material changes of facts or circumstances
affecting the Property, the Club or the offering.

         The Offering Plan may not be used after six (6) months from the Filing Date of the Offering Plan unless the
Offering Plan is extended or amended.

         There are no lawsuits or other legal proceedings now pending, or any judgments outstanding, which could
materially and adversely affect this offering, the Purchasers of Club Interests, the Property, the Condominium, the
Club Association or the operation thereof, which are not covered by insurance.




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                             PART II




                    FRACTIONAL OFFERING PLAN


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